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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

   MARK HALE, TODD SHADLE, and
   LAURIE LOGER, on behalf of themselves and
   all others similarly situated,
                                               Case No. 3:12-cv-00660-DRH-SCW
                     Plaintiffs

               v.                              Judge David R. Herndon

   STATE FARM MUTUAL AUTOMOBILE                Magistrate Judge Stephen C. Williams
   INSURANCE COMPANY, EDWARD
   MURNANE, and WILLIAM G. SHEPHERD,

                     Defendants.


                             PLAINTIFFS’ OPPOSITION TO
                    STATE FARM’S MOTION FOR SUMMARY JUDGMENT
                    ON GROUNDS OF ROOKER-FELDMAN, RES JUDICATA,
                             AND COLLATERAL ESTOPPEL




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                                              INTRODUCTION
               This case arises from allegations—and now proof—of Defendants’ extraordinary and

   secret efforts to secure the election of an Illinois Supreme Court Justice sympathetic to State

   Farm, to ensure his participation in the review of a billion dollar judgment pending against State

   Farm, and, in so doing, to deprive Plaintiffs of their right to an impartial tribunal and the

   judgment that tribunal was reviewing. The evidence, described here and in Plaintiffs’ Motion for

   Class Certification (Doc. 438, incorporated by reference), shows that State Farm and its co-

   conspirators (1) secretly recruited Judge Karmeier to run for an open seat on the Illinois Supreme

   Court, before which a billion dollar judgment against State Farm was pending; (2) organized and

   managed his campaign behind the scenes; (3) covertly funneled millions of dollars (well over a

   majority of all reported campaign funds) to support the campaign through intermediary

   organizations over which it exerted considerable influence; and, (4) after securing Justice

   Karmeier’s election to the Illinois Supreme Court, obscured, concealed, and misrepresented the

   degree and nature of their support so that Justice Karmeier could participate in the Avery

   deliberations.1

               Defendants’ scheme to deprive Plaintiffs of their constitutionally-guaranteed right to be

   judged by a tribunal uncontaminated by politics was a success. Plaintiffs had no opportunity in

   the state court appellate process to conduct the discovery necessary to pull back the curtain on
   State Farm’s deception, and their procedurally-limited recusal efforts were summarily denied—

   by Justice Karmeier himself. As a result, Justice Karmeier participated in the Avery deliberations

   and, as he stated, broke the “deadlock[]” that had prevented disposition up until that point.

   PA1172. Unsurprisingly, he voted to overturn the judgment, and provided the essential fourth

   vote necessary for the majority’s opinion to become law.

   1
     Naturally, the Defendants dispute and offer competing interpretations of this evidence. But at
   this stage, all factual disputes must be resolved in Plaintiffs’ favor. Ledbetter v. Good Samaritan
   Ministries, No. 13-CV-308, 2016 WL 3746204, at *2 (S.D. Ill. July 13, 2016) (Herndon, J.)
   (citing Scott v. Harris, 550 U.S. 372 (2007); Fischer v. Avanade, Inc., 519 F.3d 393, 401 (7th
   Cir. 2008)). Of course, the existence of such material factual disputes requires denial of summary
   judgment, in favor of determination by the jury as factfinder at trial.

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               These actions give rise to Plaintiffs’ claims under the Racketeer Influenced and Corrupt
   Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq. These claims are based on Defendants’

   own conduct—including misrepresentations to and concealment from Plaintiffs and the court—

   not on the state court decisions, and Plaintiffs do not invite this Court to review or reject those

   decisions. The claims could not have been asserted in the state court proceedings (indeed, they

   did not even fully manifest until after the Avery plaintiffs’ last state court filing) and were not

   litigated therein. No legal doctrine deprives this Court of jurisdiction to hear them.

               The Rooker-Feldman doctrine upon which State Farm so heavily relies is a narrow one

   that the Seventh Circuit has confirmed does not apply to claims addressing a state court

   proceeding that was “contaminated by politics” as a result of the defendants’ actions. See, e.g.,

   Nesses v. Shepard, 68 F.3d 1003 (7th Cir. 1995). It also does not apply where, as here, the

   federal plaintiffs lacked a meaningful and adequate opportunity to fully present their claims in

   state court. Long v. Shorebank Dev. Corp., 182 F.3d 548, 558 (7th Cir. 1999). Finally, the

   doctrine does not apply to claims directed not at a state court judgment, but at a defendant’s

   tortious conduct. This is true “[e]ven if [a plaintiff] would not have suffered any damages absent

   the state order.” Brokaw v. Weaver, 305 F.3d 660, 667 (7th Cir. 2002).

               For all these reasons, this Court already concluded that the “Rooker-Feldman doctrine

   does not bar this Court’s exercise of jurisdiction.” Doc. 67 at 16. And, although Defendants have
   urged the Seventh Circuit to review this and related rulings on three separate occasions, the court

   of appeals has turned them down every time. Docs. 175, 572, 618.

               For similar reasons, Plaintiffs “did not [previously] have a full and fair opportunity to

   litigate” the claims advanced in this RICO cause of action—indeed, the RICO claims did not

   even accrue until the very end of the state court proceedings, years after the initial recusal

   decisions and reversal of the state court judgment. See Jones v. City of Alton, 757 F.2d 878, 884

   (7th Cir. 1985). Relatedly, State Farm cannot demonstrate that the issues raised in this RICO

   action are identical to any issues that were decided by a final judgment on the merits in the Avery
   proceedings. Thus, neither res judicata nor collateral estoppel bar Plaintiffs’ claims.


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             Plaintiffs’ claims are not precluded, and the Court has jurisdiction over them. It must

 exercise that jurisdiction to ensure that Plaintiffs have an opportunity to present evidence of this
 extraordinary scheme to a jury of their peers.

                                        STATEMENT OF FACTS
             Avery v. State Farm Mut. Auto. Ins. Co. was a nationwide class action filed in Illinois

 state court. 835 N.E.2d 801, 810 (2005). The Avery plaintiffs sued State Farm based on

 allegations that it specified non-original equipment manufacturer crash parts for its insureds’

 vehicles, in breach of their contract and in violation of the Illinois Consumer Fraud and

 Deceptive Business Practices Act. Id. at 811. Upon a jury verdict, the trial court entered

 judgment for over $1.1 billion. Id. at 810; PA1215-32. The Illinois court of appeals affirmed a

 judgment against State Farm for $1.05 billion. Avery v. State Farm Mut. Auto. Ins. Co., 321 Ill.

 746 N.E.2d 1242, 1262 (2001), aff’d in part, rev’d in part, 835 N.E.2d 801 (2005). The Illinois

 Supreme Court granted State Farm leave to appeal in 2002, and heard oral argument in May

 2003. Doc. 289 ¶ 47. At about the same time, State Farm and others formulated a two-phase

 RICO conspiracy to elect a Justice beholden to State Farm, to hide what they were doing, and

 then to lie about it, so that State Farm’s chosen Justice—Lloyd Karmeier—could participate in

 the appeal of the $1.05 billion judgment against it.

 I.          Phase I–the Set Up: Defendants Conspire to Put a Justice on the Illinois Supreme
             Court.
             A.     State Farm Exerts Considerable Influence Over the ICJL.
             State Farm’s principal instrumentality in the management and funding of the Karmeier

 campaign was the Illinois Civil Justice League (“ICJL”), a “tort reform” group created by and as

 an instrument of the Illinois Business Round Table (“IBRT”), a group of corporations intent on

 placing jurists sympathetic to corporate interest on Illinois courts. Plaintiffs’ Appendix (“PA”)

 0001-12. In 2000, after State Farm’s trial court defeat in Avery, State Farm Chairman and CEO

 Edward B. Rust, Jr. became Chairman of the IBRT. PA0013-15. In 2001, the IBRT moved the
 ICJL into its offices. Id. Through the 2004 Illinois Supreme Court election the Rust-led IBRT



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 supported the ICJL and was active on the ICJL’s Board and Executive Committee while the

 ICJL provided support for the IBRT’s Civil Justice Reform Task Force. Id.




 PA0009. Murnane and the ICJL answered to Rust’s IBRT as well as to the ICJL Executive

 Committee. PA0016.




 PA0008; PA0017-27.                                                     PA0016; PA0028-29. So

 was State Farm, through its in-house counsel and lobbyist, Defendant Shepherd. PA0030. State

 Farm therefore wielded great power over Murnane, and held a majority of the votes on the

 committee which controlled his compensation. Id.; PA0028-29. In addition, Rust (State Farm’s

 CEO) and Murnane were close. PA0031-32. Murnane boasted that “when I say I talked to the

 State Farm people, I mean the CEO and General Counsel.” PA0033. And on the day the Illinois

 Supreme Court overturned Avery, in 2005, it was Murnane to whom Rust turned for information.

 PA0034-35.

                                          PA0036-37.

             State Farm’s Shepherd and Murnane were also close. Shepherd exercised State Farm’s
 influence over ICJL through emails and telephone calls at least three times per week (PA0038),

 through personal visits during the campaign (PA0039), and in-person ICJL status conferences

 about the campaign (PA0040-42).




                                                           PA0043-44.



                                                                     ” PA0045-46.




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            made sure that Karmeier campaign donors could remain anonymous (PA0302);
            worked with State Farm on rallies at State Farm offices in Marion, Collinsville, and
             Mount Vernon, (PA0304), and in Bloomington, State Farm’s hometown (PA0303-06);
             and
            Acted as “clearinghouse” for Karmeier Campaign contributions (PA00314; PA0042), a
             fact State Farm was well aware of.4



 PA0329-30; PA0045-46




         PA0331-32.

             C.     State Farm Funds the Karmeier Campaign
             Judge Karmeier was described as a “Quantum Leap Forward” for Defendants, and they

 went to great lengths to secure his election. PA0359. Those on his campaign believed they would

 need at least $3 million to elect Judge Karmeier. PA0355. State Farm itself contributed even

 more than that,5 and it did so covertly, through a web of intermediaries, to enable it to deny its

 influence and ensure that a future Justice Karmeier could participate in Avery, if Avery were still

 pending after the election. State Farm executives and agents held strategic positions within the

 leadership of the intermediaries, enabling State Farm to covertly influence the direction of funds
 through the intermediaries to the Karmeier campaign. These included:

     U.S. Chamber of Commerce (“U.S. Chamber”) and its campaign donor organization, the
                          Institute for Legal Reform (“ILR”):

    State Farm CEO Rust was a Director of the ILR in 2003 and 2004 (PA0508-22);


 4
  This is confirmed in the notes of Regina Dillard, a State Farm in-house lawyer who attended a
 U.S. Chamber/ILR donor meeting on May 25, 2004 in the course of her employment. PA0314.
 Ms. Dillard’s notes of the remarks at the meeting indicate that the Fifth District Illinois Supreme
 Court race was the ILR’s “highest priority,” and the U.S. Chamber was supporting Judge
 Karmeier. PA0308. The Avery case was covered at the meeting. Id.; PA0315-28.
 5
   Expert Thomas A. Myers is a forensic accountant whose report traces the flow of funds from
 State Farm to the Karmeier campaign. PA0376. Myers determined, based on all the financial
 records and evidence, that State Farm secretly funneled more than $3.5 million to the Karmeier
 campaign, over three-quarters of its reported campaign funds.

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    State Farm Vice-President David Hill was on the ILR Elections Task Force (PA0523-24);

    State Farm General Counsel Kim Brunner was on the ILR Audit Committee (PA0534); and

    State Farm Chief Administrative Officer James Rutrough was on the U.S. Chamber’s board
     from 2004 to 2011 (PA0646-66; PA0684).

                             American Tort Reform Association (“ATRA”):

    State Farm Vice-President Hill was a Director in 2004. PA0704.

                                  Civil Justice Reform Group (“CJRG”):

 

                                           (PA0710-12); and

                                                                                         (PA0713-14)


                                                                      (PA0715)
                                           (PA0716-17).

                            ICJL and its political action committee, JUSTPAC:

    Murnane served as ICJL President (PA0016);

    State Farm’s Shepherd served on the ICJL Executive Committee (PA0030);

    State Farm held a board seat on the ICJL (PA0718); and

    Murnane served as Treasurer of JUSTPAC (PA0719).

                          Illinois Chamber of Commerce (“Illinois Chamber”):

    State Farm executives Mike Davidson and Peggy Echols held seats on the Board of
     Directors. PA0720-21.

              Illinois Coalition for Jobs, Growth and Prosperity (“Illinois Job Coalition”):

    Formed by the ICJL, the Illinois Chamber, and the IBRT (with Rust as IBRT Chairman) to
     “participate in a meaningful way in the 2004 elections.” PA0722-24.

             State Farm’s contributions to these intermediaries led directly to large expenditures

 benefitting the Karmeier campaign including, for example: (1) $1,940,000 funneled from State

 Farm through the U.S. Chamber/ILR, then to the Illinois Republican Party and then to Citizens
 for Karmeier; (2) $415,000 that flowed from State Farm through ATRA and then to JUSTPAC, a

 documented proxy for the Karmeier campaign; (3) $150,000 from State Farm to the ICJL to

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 JUSTPAC; and (4) $100,000 from State Farm through the CJRG to the ICJL. PA0390-97; see

 also PA0725-26 (Murnane “acknowledge[d] that many Illinois corporations, and many out-of-

 state corporations, are supporting the Illinois effort through the US Chamber or through

 ATRA.”).

             U.S. Chamber/ILR. In November 1999, soon after the Avery class judgment, Tom

 Donohue, President of the U.S. Chamber, wrote to State Farm CEO Rust asking for money and

 promising to do anything possible “to help [State Farm’s] industry,” and to “always be available

 when [State Farm has] a particular concern.” PA0727. With the Avery appeal pending, State

 Farm availed itself of Donohue’s offer to marshal the U.S. Chamber on behalf of select

 corporations “as a means of anonymously pursuing their own political ends.” PA0728-32

 (emphasis added).6

             Before the Avery judgment, State Farm’s largest contribution to the U.S. Chamber was

 $26,000; afterwards, State Farm’s yearly contribution ballooned to over $1 million. PA0384-85.

 And when the Karmeier campaign was heating up in mid-2004, State Farm wrote two more

 million-dollar checks to the U.S. Chamber’s ILR division. PA0457-59.7 At the same time, Avery

 became a recurring subject in conversations between State Farm’s Rust and the U.S. Chamber’s

 Donohue (see, e.g., PA0780; PA0760; PA0794; PA0799), with Rust telling Donohue “to keep an

 eye on [State Farm’s] Supreme Court case in I[llinois]” (PA0794). Donohue did so. When Rust
 pledged the second of the two $1 million donations to the U.S. Chamber’s ILR in 2004, he knew

 State Farm could “[c]ount on [ILR] to be very helpful in [upcoming] judicial elections.”

 PA0810-11. Indeed, the ILR designated the 2004 Illinois Supreme Court race a “Tier I” election

 of the very “highest priority.” PA0812-15.



 6
  Donohue sent Rust a copy of the newspaper article in which this quote appeared explaining the
 corporate utility of the USCC, with a personal letter to Rust thanking State Farm for its financial
 commitment. PA0737-38
 7
  State Farm contributed an additional $500,000 to the ILR in December 2000 (PA0739-55),
 after the Avery verdict, and after a meeting in October 2000 where Donohue emphasized the
 millions in contributions the U.S. Chamber was making to influence judicial elections (PA0756;
 PA0740; PA0759).

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                               PA0906-88; PA 0851. ATRA and State Farm knew that JUSTPAC
 would apply the $50,000 to the Karmeier campaign. PA0856.

             Illinois Jobs Coalition. State Farm contributed $150,000 to the Illinois Jobs Coalition in

 2004. PA0404. On the same day State Farm wrote its final $50,000 check to the Illinois Jobs

 Coalition, the Illinois Jobs Coalition transferred the full $150,000 to JUSTPAC, which promptly

 transferred it to Judge Karmeier’s campaign. PA0405-07.

             CJRG. State Farm contributed $150,000 to the CJRG on January 6, 2004. PA0409-10.

 The CJRG transferred $100,000 to the ICJL, which was used to benefit the Karmeier campaign.

 PA0411-12.



                                                    PA0916-17.

             Any of these examples would raise an eyebrow. Together, the scope of State Farm’s

 contributions to Karmeier’s campaign was extraordinary and, critically, was intentionally kept

 secret. Illinois campaign finance rules require an entity contributing to a campaign to reveal its

 sub-donors if any sub-donor accounts for over one-third of that entity’s contributions to the
 campaign. State Farm kept its contributions anonymous by ensuring that the groups it used did

 not cross the 33% threshold. E.g., PA0302.



                                                                   PA0919-20.




                                              Id.


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                                                 Id. Indeed, State Farm-funded groups supplied the

 vast majority of the Karmeier campaign’s funds, but each one remained under the one-third level

 to cloak State Farm’s involvement in secrecy, maintain plausible deniability, and permit a future

 Justice Karmeier to participate in Avery. PA0302.

             D.      Judge Karmeier Knew State Farm Played a Significant Role in Funding His
                     Campaign.




                                            PA0921-24; PA0095.




                                              PA0925-32.



                                    PA0933-49.

                                                                       PA0094-98; PA203-04.

                                                                                           .

 PA0950.

                                            PA0100; PA0951-52.



                  PA0953-58.



                                                                                       PA0101.




              PA0141; PA0959-60.




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             PA0816.



                                          Id.

                                                            PA0961.



                                                            PA0962-64.

             E.     Defendants Further Enhance Judge Karmeier’s Odds of Winning the
                    Election by Subverting the State Bar’s Judicial Candidate Evaluation
                    Process.
             State Farm also helped the Karmeier campaign by placing two of its lead lawyers—

 Robert Shultz (who tried Avery for State Farm and participated in the post-verdict appeals) and

 Alan Sternberg (State Farm’s Associate General Counsel, who was responsible for the Avery

 case and hired Shultz to represent State Farm)—on the Illinois State Bar Association’s

 presumably independent committee to vet the two candidates. PA0965-1022. The ISBA

 committee rated Judge Karmeier “highly qualified,” while giving his opponent a lower,

 “qualified” rating. PA1023-24. An article trumpeting the different ratings appeared in the U.S.

 Chamber’s newspaper within two hours of the ratings announcement. PA1025-26.

             Shultz testified that he applied to join the Judicial Evaluations Committee after the entry
 of the Avery class judgment at Sternberg’s request. PA0987. To serve on this committee, Shultz

 certified that his involvement created no “credible and objective appearance of bias or

 impropriety”—even though Shultz argued Avery before an appellate panel that included Judge

 Karmeier’s opponent (who wrote the opinion mostly affirming judgment against State Farm),

 and Shultz continued to represent State Farm in the pending Avery appeal in the Illinois Supreme

 Court. PA0981-83. Shultz never revealed any of this to the ISBA. He also never told the Illinois

 Supreme Court, or counsel for the Avery plaintiffs, that he and Sternberg had vetted the two

 candidates for the ISBA, even when he knew that Justice Karmeier would rule in Avery. PA0990.




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 II.         Phase II–the Pay Off: State Farm Deceives the Illinois Supreme Court Regarding Its
             Participation in and Funding of the Karmeier Campaign.
             Having succeeded in placing Justice Karmeier on the high court, Defendants had to make

 sure he was not disqualified from participating in Avery. At the time of Justice Karmeier’s

 election, Illinois Supreme Court Rule 63 mandated that a Justice “shall disqualify himself or

 herself in a proceeding in which the judge’s impartiality might reasonably be questioned.” Ill. S.

 Ct. R. 63C (emphasis added). Moreover, on June 8, 2009, before State Farm’s second offensive

 mailing, the United States Supreme Court held that due process requires recusal “when a person

 with a personal stake in a particular case had a significant and disproportionate influence in

 placing the judge on the case by raising funds or directing the judge’s election campaign when

 the case was pending or imminent.” Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 884

 (2009). This is exactly what State Farm had done. Defendants knew, then, that to secure Justice

 Karmeier’s participation in the Avery decision, they must conceal State Farm’s involvement in

 the Karmeier campaign. E.g., PA1027. That is precisely what they did.

             On January 26, 2005, the Avery plaintiffs filed a Conditional Motion for Non-

 Participation in the Illinois Supreme Court, suggesting that if Justice Karmeier intended to

 participate in the Avery adjudication, he should not because his campaign had received

 “substantial donations” from State Farm’s “attorneys and law firms,” a “trial witness” of State

 Farm, and State Farm employees and lobbyists. A00027. This motion was supported largely by
 newspaper articles and public campaign disclosure records. Those articles and records, however,

 did not reveal State Farm’s influence over the ICJL and Murnane; its involvement in the

 selection of Justice Karmeier; its financial support and covert direction of funds for the Karmeier

 campaign through intermediaries; its influence over those intermediaries; or its subversion of the

 ISBA’s judicial candidate evaluation process. None of that information was in the public record,

 and Plaintiffs had no recourse to discovery to test their suspicions. Only State Farm could have

 confirmed its role in Justice Karmeier’s election, and it did not do so.

             Instead, in a January 31, 2005 brief mailed to the high court, State Farm falsely denied its
 extraordinary support for Justice Karmeier’s candidacy; falsely denied that it had “engineered


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 contributions” for “the purpose of impacting the outcome of this case”; failed to disclose that

 State Farm officials had helped recruit and vet Justice Karmeier; and failed to disclose that State

 Farm had organized, funded, and directed the Karmeier campaign. PA1028-130. In addition, and

 by way of example, State Farm’s brief stated that:

            “Plaintiffs have concocted a contention that State Farm somehow engineered
             contributions to Justice Karmeier’s campaign for the purpose of impacting the outcome
             of this case. This is . . . unsupported by any facts.” PA1038.
            “Plaintiffs’ assertion that campaign contributions from organizations like ATRA were
             part of an ‘attempt [by State Farm] to cloak their influence over Lloyd Karmeier’s
             election’ . . . is incorrect and meritless.” PA1039.
            “Although Plaintiffs attempt to link large sums in contributions by a variety of persons
             and organizations to Justice Karmeier’s campaign to State Farm, their moving papers and
             supporting documentation in fact reveal that a limited number of State Farm officers and
             employees made quite modest contributions to Justice Karmeier’s campaign.” PA1040
             (emphasis added).

 The Illinois Supreme Court denied the Motion for Conditional Non-Participation without Justice

 Karmeier’s participation, and without explaining its ruling. State Farm’s Appendix (“A”) 00334.

             The Avery plaintiffs then moved for reconsideration—citing media reports that the U.S.

 Chamber had made significant contributions to Justice Karmeier’s campaign, but again, lacking

 formal discovery—and requested a written decision. A00317-21. Instead, the Illinois Supreme

 Court vacated its order denying the Motion for Conditional Participation and entered an order

 stating: “Disqualification being a decision exclusively within the determination of the individual
 judge per Rule 63, and Justice Karmeier having advised the Court that he will not disqualify

 himself under Rule 63, the motion for conditional non-participation of January 26, 2005, and the

 motion to reconsider of March 22, 2005, are denied as moot.” A00315.

             Soon after plaintiffs’ recusal efforts were denied, Justice Karmeier voted to overturn the

 Avery judgment. Before then, the Court had been “unable to reach a consensus on how to dispose

 of” the case. PA1172. Justice Karmeier broke the “deadlock[].” Id.

             On September 8, 2011, the Avery plaintiffs filed in the Illinois Supreme Court a Petition

 to Recall Mandate and Vacate August 18, 2005 Judgment, based on new information that State
 Farm had played a role in Justice Karmeier’s election. A00422-52. The Petition was supported


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 by the affidavits of retired FBI Special Agent Daniel Reece and private investigator Douglas

 Wojcieszak based on information discovered through their own informal investigative efforts. Id.

             There was, however, much that the Avery plaintiffs did not know and could not have

 uncovered, without formal discovery. They did not know of the close relationships Rust had with

 Shepherd and Murnane, or of State Farm’s power over Murnane and its decision-making

 influence within the ICJL. Nor did they know that, soon after winning the election and before

 Justice Karmeier was sworn in, Justice Karmeier and Rust met privately in Chicago, while the

 Avery case was pending. They did not know that the ICJL was a “clearinghouse” for the

 Karmeier campaign; that State Farm had funded a study to discredit Judge Karmeier’s opponent;

 or the extent to which Murnane, through the ICJL, recruited Justice Karmeier, selected his

 campaign team, raised campaign funds for him, and ran his campaign. They did not know the

 extent to which Justice Karmeier knew the sources of his campaign funds, and could not

 specifically track the money that went anonymously from State Farm, through the intermediary

 organizations, to the Karmeier campaign. They could not document State Farm’s influence over

 the activities of its intermediaries. Nor did they know that State Farm had compromised the

 ISBA’s judicial candidate evaluation process.

             State Farm moved to strike the Reece and Wojcieszak affidavits, claiming they were

 “plainly incompetent and entirely lacking in evidentiary value.” A00972-89; A01014-30.
 Plaintiffs replied that they had no recourse to discovery in the Illinois Supreme Court to obtain

 other evidence, so they had no means other than the Petition to inform the Court of State Farm’s

 fraud. A00997; A01038.

             In further response to the Petition, State Farm filed a second offensive mailing, namely its

 September 19, 2011 brief to the Illinois Supreme Court. PA1131-70. There, State Farm again

 falsely denied Murnane’s extensive role in the Karmeier campaign. Id. State Farm also failed to

 state that Shepherd had helped to recruit and vet Judge Karmeier and helped ensure the ICJL

 supported the Karmeier campaign. Id. In addition, State Farm’s submission stated that

            “State Farm itself made no contribution to the campaign” (PA1134);


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            “[T]here was no ‘funnel[ing]’ of money from State Farm through JUSTPAC to Justice
             Karmeier” (PA1155-56); and
            “According to [the Avery] Plaintiffs, State Farm somehow picked Justice Karmeier as a
             candidate, managed his campaign, and made massive contributions to his campaign. The
             picture [the Avery] Plaintiffs attempt to paint has no relationship to reality” (PA1134)
             (emphasis added).

 The Illinois Supreme Court struck the affidavits and denied the Petition without explanation.

 A01865-67.

                                           LEGAL STANDARD
             Summary judgment is proper only if “there is no genuine dispute as to any material fact

 and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “The movant

 bears the burden of establishing the absence of fact issues and entitlement to judgment as a

 matter of law.” Ledbetter, 2016 WL 3746204, at *2 (citing Santaella v. Metro. Life Ins. Co., 123

 F.3d 456, 461 (7th Cir. 1997)). “All reasonable inferences are drawn in favor of the nonmovant

 and all factual disputes are resolved in favor of the nonmovant.” Id. (citing Scott, 550 U.S. 372;

 Fischer, 519 F.3d 393, 401).

                                               ARGUMENT

 I.          THE “NARROW” ROOKER-FELDMAN DOCTRINE DOES NOT DEPRIVE
             THIS COURT OF JURISDICTION TO HEAR THE PLAINTIFFS’ RICO CLAIM.
             The Court has already rejected State Farm’s misguided Rooker-Feldman arguments, Doc.

 67, and the Seventh Circuit has thrice declined to consider them, notwithstanding State Farm’s
 claim that doctrine raises jurisdictional issues that warrant immediate appellate review. Docs.

 175, 572, 618. That is because the Hale Plaintiffs do not seek review or rejection of the Avery

 rulings; instead, they focus their RICO action on Defendants’ fraudulent scheme to deprive

 Plaintiffs of an impartial tribunal. Rooker-Feldman, therefore, does not bar Plaintiffs’ claims, as

 this Court already concluded:

             Plaintiffs’ federal claims allege separate injuries and violations that are separate
             from the Avery judgment. Plaintiffs are not asking for the Illinois Supreme
             Court’s judgment to be overturned or reviewed. Nor does it appear that plaintiffs
             are attacking the merits of the Avery judgment. It appears from the complaint that
             they are asserting claims for an independent legal wrong: the illegal acts or
             omissions by defendants. The complaint contains specific allegations that State
             Farm and others, including Shepherd and Murnane, conspired with others to
             ensure a predetermined decision in Avery. Particularly, plaintiffs are challenging

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             defendants’ actions in procuring the Avery judgment. Plaintiffs allege that the
             improper actions of defendants during and after the Avery proceedings in the
             Illinois Supreme Court – specifically defendants’ mail fraud containing
             misrepresentations to the Illinois Supreme Court – resulted in the denial of their
             constitutional rights and the related injury. . . . Based on these allegations, the
             Court finds that the Rooker-Feldman doctrine does not bar this Court’s exercise of
             jurisdiction.
 Doc. 67 at 15-16.

             The Court’s analysis is still correct. The only difference now is that Plaintiffs have had

 the benefit of discovery. What was little more than “information and belief” when Plaintiffs filed

 the Complaint has been bolstered by evidence of an extraordinary money and email trail that

 confirms Defendants’ central role in orchestrating Justice Karmeier’s winning campaign and his

 participation in the Avery matter then pending before the Illinois Supreme Court. This evidence

 of a tainted tribunal further supports the Court’s already well-reasoned conclusion that Rooker-

 Feldman does not deprive the Court of jurisdiction.

             A.     Rooker-Feldman Is a “Narrow” and “Limited” Doctrine.
             In limited circumstances, where a federal suit follows a state suit, the Rooker-Feldman

 doctrine prohibits federal district courts from exercising jurisdiction. The doctrine has been

 applied by the United States Supreme Court only twice, in Rooker v. Fidelity Trust Co., 263 U.S.

 413 (1923), and District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983). In both

 cases, “[t]he losing party in state court filed suit in a U.S. District Court after the state

 proceedings ended, complaining of an injury caused by the state-court judgment and seeking
 federal-court review and rejection of that judgment.” Skinner v. Switzer, 131 S. Ct. 1289, 1297

 (2011). In both cases, plaintiffs “asked the District Court to overturn the injurious state-court

 judgment.” Id. And, in both cases, the Supreme Court held that “the District Courts lacked

 subject-matter jurisdiction over such claims, for 28 U.S.C. § 1257 vests authority to review a

 state’s court judgment solely [in the Supreme Court].” Id. (quotation marks omitted). Outside

 these narrow circumstances, the Supreme Court has never applied the doctrine.

             At various times and by various courts, however, the Rooker-Feldman doctrine has been
 construed more broadly than in Rooker in 1923 or in Feldman in 1983, to bar a range of federal

 court litigation brought on the heels of a state court case. See Exxon Mobil Corp. v. Saudi Basic

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 Indus. Corp., 544 U.S. 280, 283 (2005) (observing that lower courts have extended the Rooker-

 Feldman doctrine “far beyond the contours of the Rooker and Feldman cases”). Yet, the

 Supreme Court has consistently held that such expansive application is in error, and that Rooker-

 Feldman occupies only a very “narrow ground,” Exxon, 544 U.S. at 284, and applies in only

 “limited circumstances.” Id. at 291. See also Lance v. Dennis, 546 U.S. 459, 464 (2006) (Rooker-

 Feldman is a “narrow doctrine” that “applies only in ‘limited circumstances’”). Indeed, Justice

 Stevens went so far as to proclaim that the Court’s previous rulings had “interred” the dusty

 Rooker-Feldman doctrine. Id. at 468 (Stevens, J., dissenting).10

             Rooker-Feldman doctrine thus bars federal district courts from hearing only a narrow set

 of lawsuits (1) “brought by state-court losers” (2) who are “complaining of injuries caused by

 state-court judgments” (3) “rendered before the district court proceedings commenced,” (4) if,

 and only if, the federal action “invit[es] district court review and rejection of those judgments.”

 Lance, 546 U.S. at 464; accord Exxon, 544 U.S. at 284. Even if all conditions are met, the

 Seventh Circuit has long recognized that Rooker-Feldman does not apply to claims involving

 allegations of a tainted state court tribunal. See, e.g., Nesses, 68 F.3d 1003.

             B.     Rooker-Feldman Does Not Deprive Federal Courts of Jurisdiction Over
                    Federal Actions Involving Allegations and Proof of a Tainted Tribunal.
             The evidence in this case shows that State Farm and its co-conspirators rigged the state

 court judicial system at the highest levels, concealing their extraordinary level of organizational
 and financial support for a Supreme Court justice who, because of State Farm’s RICO-violative

 scheme, was able to participate in the deliberations to review and ultimately overturn a $1.05
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    Courts of appeal have recognized the same. See, e.g., Green v. Jefferson Cnty. Comm’n, 563
 F.3d 1243, 1245 (11th Cir. 2009) (describing Rooker–Feldman as an “extremely narrow
 exception[]” to the federal courts’ “virtually unflagging” duty “to adjudicate claims within their
 jurisdiction”); Vulcan Chem. Techs., Inc. v. Barker, 297 F.3d 332, 338 (4th Cir. 2002); In re
 Smith, 349 Fed. App’x 12, 18 (6th Cir. 2009). Commentators, too, have also recognized the
 limits of the doctrine and have criticized it. See, e.g., Dustin E. Buehler, Revisiting Rooker-
 Feldman: Extending the Doctrine to State Court Interlocutory Orders, 36 Fla. St. U. L. Rev. 373,
 374 (2009) (“Judges and scholars have heaped scathing criticism on the ‘so-called Rooker-
 Feldman doctrine’”); Barry Friedman & James E. Gaylord, Rooker-Feldman, from the Ground
 Up, 74 Notre Dame L. Rev. 1129, 1133 (1999) (“The Rooker-Feldman doctrine should be
 abolished.”); Erwin Chemerinsky, Federal Jurisdiction, 499 n.8 (6th ed. 2012) (explaining that,
 in recent years, the Supreme Court has further “limited the application of the Rooker-Feldman
 doctrine”).

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 billion judgment pending against State Farm. These facts bring the case squarely within the

 ambit of Nesses and its progeny—cases which, as State Farm recognizes, constitute an

 “exception to Rooker-Feldman.” Doc. 646 at 19; see also Manos v. Caira, 162 F. Supp. 2d 979,

 986–87 (N.D. Ill. 2001) (“Nesses carved out an exception to the application of the Rooker-

 Feldman doctrine” where the plaintiff “alleges that defendants succeeded in corrupting the

 judicial process in order to obtain a favorable ruling” in the state system).

             In Nesses, the Seventh Circuit confirmed that a federal plaintiff may pursue a claim to

 vindicate his right to “be judged by a tribunal that is uncontaminated by politics . . . without

 being blocked by the Rooker-Feldman doctrine.” 68 F.3d at 1005. There, after losing a breach of

 contract suit in state court, the plaintiff filed a federal action “alleg[ing] a massive, tentacular

 conspiracy among the lawyers and the judges to engineer Nesses’ defeat” in the state court

 action. Id. at 1004. The district court dismissed the plaintiff’s suit under Rooker-Feldman.

             The Seventh Circuit reversed. Writing for the majority, Judge Posner conceded that the

 plaintiff’s suit was “in a sense attacking the ruling by the state court . . . [and] the decisions

 themselves that dismissed his suit.” Id. But, he concluded, though it might appear that Rooker-

 Feldman would bar such a suit, the “doctrine is not that broad.” Id. at 1005. The court explained:

             Were Nesses merely claiming that the decision of the state court was incorrect,
             even that it denied him some constitutional right, the doctrine would indeed bar
             his claim. But if he claims, as he does, that people involved in the decision
             violated some independent right of his, such as the right (if it is a right) to be
             judged by a tribunal that is uncontaminated by politics, then he can, without being
             blocked by the Rooker–Feldman doctrine, sue to vindicate that right and show as
             part of his claim for damages that the violation caused the decision to be adverse
             to him and thus did him harm. Otherwise there would be no federal remedy for a
             violation of federal rights whenever the violator so far succeeded in corrupting the
             state judicial process as to obtain a favorable judgment . . . .
 Id.

             In his partial dissent, Judge Fairchild argued that Nesses’ “complaint could have no

 meaning unless it sought a determination that the state court judgments were wrong” and,

 therefore, that “the Rooker-Feldman doctrine requires dismissal for lack of jurisdiction.” Id. at
 1006. This is precisely State Farm’s reasoning here. The majority opinion rejected it.



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             Since Nesses, the Seventh Circuit has confirmed and re-affirmed that Rooker-Feldman

 does not preclude federal remedies for damages arising from state court corruption. In Loubser v.

 Thacker, 440 F.3d 439 (7th Cir. 2006), for example, the plaintiff brought a § 1983 suit against

 more than forty individuals whom she alleged “conspired to defraud her by corrupting her [state

 court] divorce proceedings,” which ultimately “deprived her of property to which she was

 entitled.” Id. at 440. Again, the district court dismissed the case, citing Rooker-Feldman. Again,

 the court of appeals reversed and reiterated its conclusion that Rooker-Feldman does not

 preclude review of claims alleging that a defendant “so far succeeded in corrupting the state

 judicial process as to obtain a favorable judgment.” Id. at 441 (citations omitted). “Otherwise,”

 the court of appeals observed, “there would be no federal remedy other than an appeal to the U.S.

 Supreme Court, and that remedy would be ineffectual because the plaintiff could not present

 evidence showing that the judicial proceeding had been a farce.” Id. at 441-42. In other words,

 Rooker-Feldman does not bar claims based on allegations that a plaintiff “was denied the right to

 be judged by an uncorrupted tribunal and seek[ing] damages for the resulting harm,” even where

 there is “no question” that the complaint constitutes “an attack on the proceedings in . . . state

 court.” Id. at 444 (Sykes, J., concurring).

             In Davit v. Davit, cited by State Farm, the Seventh Circuit reiterated this conclusion, and

 applied it to reject a district court’s decision to dismiss a RICO action under Rooker-Feldman.
 173 Fed. App’x 515, 517 (7th Cir. 2006). The court of appeals concluded that the federal

 plaintiff’s allegations “that the defendants conspired to deny him an honest tribunal” in his state

 court proceedings set the case beyond the reach of Rooker-Feldman. Id.

             Several Seventh Circuit cases decided after this Court’s initial order rejecting State

 Farm’s Rooker-Feldman arguments are in accord. In Johnson v. Pushpin Holdings, LLC, for

 example, the Seventh Circuit, citing Nesses, held that Rooker–Feldman “does not bar a federal

 suit that seeks damages for a fraud that resulted in a judgment adverse to the plaintiff” because

 “[s]uch a suit does not seek to disturb the judgment of the state court, but to obtain damages for
 the unlawful conduct that misled the court into issuing the judgment.” 748 F.3d 769, 773 (7th


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 Cir. 2014) (emphasis added). Similarly, in Parker v. Lyons, the Seventh Circuit again concluded

 that because plaintiffs’ “claims are premised on detailed allegations that the winning party

 obtained a favorable civil judgment by corrupting the state judicial process, Rooker-Feldman

 does not bar them.” 757 F.3d 701, 706 (7th Cir. 2014).11

             This line of well-reasoned authority clearly instructs that Rooker-Feldman cannot and

 does not deprive this Court of jurisdiction over Plaintiffs’ claims. Plaintiffs here seek to vindicate

 their right to be “judged by a tribunal that is uncontaminated by politics.” Nesses, 68 F.3d at

 1005. They allege that Defendants’ fraudulent scheme robbed them of that right to an untainted

 tribunal, and “so far succeeded in corrupting the state judicial process as to obtain a favorable

 judgment.” Id. The evidence adduced thus far supports this allegation and demonstrates that

 Defendants’ scheme erected an insurmountable barrier to fair adjudication. These claims, and the

 proof supporting them, place this action beyond the reach of Rooker-Feldman.12

             Perhaps recognizing the threat that these cases pose to their Rooker-Feldman arguments,

 State Farm attempts to distinguish Nesses and its progeny by arguing that they apply only where

 there is “actual judicial corruption.” Doc. 646 at 33. This strained interpretation cannot be

 reconciled with the reasoning of those cases.

             It is true that in both Nesses and Loubser the plaintiffs alleged conspiracies in which

 judges were claimed co-conspirators, but the Seventh Circuit’s holdings do not rest on that fact.
 Instead, the crucial allegation in both cases was simply that plaintiffs claimed a violation of their

 right “to be judged by a tribunal that is uncontaminated by politics.” Nesses, 68 F.3d at 1005; see


 11
   Other circuit courts are in accord. See, e.g., Great W. Mining & Mineral Co. v. Fox Rothschild
 Inc., 615 F.3d 159 (3d Cir. 2010) (finding that Rooker-Feldman did not apply even though Great
 Western was “attacking the state-court judgments” because “Great Western asserts an
 independent constitutional claim that the alleged conspiracy violated its right to be heard in an
 impartial forum” and “the source of Great Western’s purported injury was the actions of
 Defendants and members of the Pennsylvania judiciary, not the state-court decisions
 themselves”).
 12
   Of course, the 2004 Illinois Supreme Court election was a partisan one, but Defendants’
 participation took it far beyond politics as usual or proper. Justice Maag’s supporters knew he
 could not participate in the Avery decision if elected (because he had authored the appellate
 decision below); Defendants, in contrast, selected, financed, and counted on Justice Karmeier to
 do just that.

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 also Loubser, 440 F.3d 439. Furthermore, in Nesses, Judge Posner made clear that “judicial

 corruption” is not necessary to trigger the exception by analogizing Nesses’ claims to one in

 which a plaintiff sued “police officers . . . for having fabricated evidence that resulted in the

 plaintiff’s being convicted in a state court.” Nesses, 68 F.3d at 1005. Of course, in that analogy,

 the alleged corruption lies solely with the police officers, not with the judge. Yet the result is the

 same: federal courts retain jurisdiction to adjudicate claims that fraud in the state court

 proceedings tainted the tribunal.

             The actual motivations of a judicial decision maker can never be demonstrated

 conclusively—the deliberative privilege prevents that inquiry. But again, where, as here,

 Plaintiffs have alleged (and have advanced evidence to prove) that Defendants’ actions in the

 state court tainted that tribunal, Rooker-Feldman does not apply.

             Contrary to State Farm’s assertion, Sheikhani v. Wells Fargo Bank, 526 F. App’x 705

 (7th Cir. 2013), does not undermine this conclusion, or otherwise hold that “‘corruption’ for the

 purpose of Nesses and Loubser clearly does not include mere allegations that the defendants

 made fraudulent representations to the state court or procured a judgment by fraud.” Doc. 646 at

 33. In Sheikhani, the Seventh Circuit confirmed that Rooker-Feldman does not bar jurisdiction

 “if the state court imposed an insurmountable obstacle to adjudication,” and cited “a conspiracy

 among the judge and state-court adversaries” merely as an “example” of such a scenario. 526 F.
 App’x at 706 (emphasis added). Ultimately, the court held that Rooker-Feldman applied, but

 only because the plaintiff had not “allege[d] that the foreclosure proceedings were corrupted; in

 fact he stressed . . . that he was not questioning the integrity of those proceedings.” Id. at 706-07.

 Here, in contrast, Plaintiffs’ RICO allegations clearly challenge the integrity of the state court

 proceedings—and they have advanced significant evidence supporting that claim.

             But even assuming, for the sake of argument, that Nesses applied only if a judge has been

 corrupted (an incorrect interpretation), Plaintiffs have adduced evidence that, at the very least,

 creates a triable issue of fact on this issue. Plaintiffs have presented documents, cited above,
 showing that Judge Karmeier knew that his campaign received millions of dollars from


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 organizations in which State Farm exerted significant influence—including the U.S Chamber,

 the ICJL, and IBRT.




                                                                   PA0141; PA0959-60; PA0794.

 And, again, while the judicial deliberation privilege prevented Plaintiffs from asking Justice

 Karmeier whether this knowledge influenced his decisions or deliberations in Avery, these

 documents, and all the other evidence of the RICO scheme, allow a trier of fact to conclude it

 did.13

             Recent precedent from the United States Supreme Court highlights the critical policy

 underlying the holdings in Nesses, Loubser, Davit, Pushpin Holdings, Parker, and other similar

 cases, and confirms that a panel can be unconstitutionally contaminated by politics not just by

 actual judicial corruption, but also by the “risk of actual bias” that arises “when a person with a

 personal stake in a particular case had a significant and disproportionate influence in placing the

 judge on the case by raising funds or directing the judge’s election campaign when the case was

 pending or imminent.” Caperton, 556 U.S. at 884; see also Williams v. Pennsylvania, 136 S.Ct.

 1899 (2016). Caperton arose under facts similar to those presented here: the CEO (Don

 Blankenship) of a company (A.T. Massey Coal Co.) that had a $50 million judgment pending
 against it in West Virginia state court contributed up to $3 million through a political

 organization supporting the campaign of a judge (Justice Benjamin) running for a seat on the

 West Virginia Supreme Court. Id. at 872-73. Justice Benjamin was elected, refused to recuse

 himself from hearing the appeal of the judgment against Massey Coal, and ultimately voted to

 overturn it. Id. at 874. The United States Supreme Court held that, under these facts, the due

 process rights of Massey Coal’s adversary had been violated. The Court observed “the

 difficulties of inquiring into actual [judicial] bias” and concluded that “[d]ue process requires an
 13
   Plaintiffs have contended that they need not show that Judge Karmeier knew the source of his
 donations to prove their RICO claims. See Doc. 646 at 15. But this does not mean that they
 cannot prove this fact to establish the kind of judicial corruption that State Farm incorrectly
 asserts is necessary to invoke the Nesses exception. As explained above, Plaintiffs can do so.

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 objective inquiry into whether the contributor’s influence on the election under all the

 circumstances ‘would offer a possible temptation to the average . . . judge to . . . lead him not to

 hold the balance nice, clear and true.’” Id. at 885 (citation omitted). Under those facts, the Court

 concluded that there was a “serious risk of actual bias” that violated due process. Id. at 884.

             In important respects, the facts presented here are even more threatening to the judicial

 process than those presented in Caperton. In Caperton, the contributions of Massey Coal to

 Justice Benjamin’s campaign were made in the open and were transparent (it was well-known

 that Blankenship was the source of the intermediary organization’s funds). Here, in contrast,

 State Farm sought to hide its contributions from the public, presumably so that it could plausibly

 deny its participation in helping to elect Justice Karmeier. According to judicial ethics expert

 Professor Charles Geyh, the fact, if true, that State Farm sought to hide its contributions to

 Justice Karmeier’s campaign “portend something new and even more disturbing than the

 scenario in Caperton.” PA1194. It would be the ultimate irony, and a betrayal of the principles

 inherent in Caperton, were Rooker-Feldman, an earlier prudential creation of the Supreme Court,

 misused to enable defendants to escape Caperton and evade accountability in the federal courts

 for subversion of state court process.

             The Supreme Court has also recently confirmed that one possibly biased justice on a

 multi-member state supreme court can infect and undermine the integrity of that court’s
 decision-making. Williams, 136 S.Ct. 1899. The Supreme Court held:

             A multimember court must not have its guarantee of neutrality undermined, for
             the appearance of bias demeans the reputation and integrity not just of one jurist,
             but of the larger institution of which he or she is a part. An insistence on the
             appearance of neutrality is not some artificial attempt to mask imperfection in the
             judicial process, but rather an essential means of ensuring the reality of a fair
             adjudication. Both the appearance and reality of impartial justice are necessary to
             the public legitimacy of judicial pronouncements and thus to the rule of law itself.
 Id. at 1909. Thus, where, as here, there is a real risk that a single member of a panel was biased,

 the entire tribunal’s decisions are impermissibly infected with and contaminated by politics.




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             Under Nesses and its progeny—and under the United States Supreme Court precedent

 that underscores its rationale—Rooker-Feldman does not apply to Plaintiffs’ claims, which are

 rooted in facts and evidence that Defendants conspired to taint the state court tribunal.

             C.     Plaintiffs Did Not Have an Adequate Opportunity to Fully Present their
                    Claims in State Court.
             A related exception to the Rooker-Feldman doctrine applies when the state court parties

 lacked a “reasonable opportunity to raise the issue in state court proceedings.” Long, 182 F.3d at

 558; Brokaw, 305 F.3d at 668; Taylor v. Fed. Nat. Mortg. Ass’n, 374 F.3d 529, 534-35 (7th Cir.

 2004); Hamilton v. City of New Albany, Indiana, No. 16-3901, 2017 WL 2615453, at *4 (7th Cir.

 June 16, 2017). “The ‘reasonable opportunity’ inquiry focuses not on ripeness, but on difficulties

 caused by “factor[s] independent of the actions of the opposing part[ies] that precluded” a

 plaintiff from bringing federal claims in state court, such as state court rules or procedures.

 Taylor, 374 F.3d at 534-35 (citation omitted).

             Defendants make much of the fact that allegations of State Farm’s wrongful conduct

 surfaced in the Avery proceedings. What State Farm overlooks, however, is that the Avery

 plaintiffs had no opportunity for discovery related to the allegedly wrongful conduct that tainted

 the proceedings. The Avery plaintiffs assembled and presented what they could through their

 own investigation, but those efforts were limited. They could not depose, or otherwise take

 discovery from, Murnane, Shepherd, or other State Farm officials, and they did not know—and
 could not possibly have known—what several years of formal discovery have revealed regarding

 the relationship between and among Defendants and the participants in their RICO enterprise.

 Plaintiffs could not prove, for example, that Shepherd was in constant communication with

 Murnane and was on the ICJL Executive Committee, a crucial link connecting State Farm to

 Judge Karmeier’s campaign. They also did not know that Justice Karmeier met privately with

 State Farm’s CEO in December 2004, a month after the November 2004 judicial election and a

 month before he agreed to participate on the Avery appeal, even though the oral argument had
 taken place years prior. Nor did Plaintiffs previously have an opportunity to test the credibility of



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 Justice Karmeier himself, including his claim that he remained ignorant of the millions of dollars

 that State Farm contributed to his campaign.

             Notably, in Avery, State Farm itself decried the plaintiffs’ lack of evidence and moved to

 strike the investigator affidavits submitted in connection with their recusal efforts, arguing they

 were comprised of hearsay and lacked foundation. A00972-89; A01014-1030. The Illinois

 Supreme Court granted this motion, thereby denying Plaintiffs the opportunity to present even

 the modest information they could collect outside of formal discovery. Ironically, this is the very

 same evidence that State Farm now points to as proof that Plaintiffs had an opportunity to litigate

 their claims in state court. Clearly, they did not. For this separate reason, Rooker-Feldman does

 not apply.

             D.     Rooker-Feldman Does Not Apply Where, As Here, Defendants’ Unlawful
                    Conspiracy, Not the Avery Decisions, Caused Plaintiffs’ Injury, and Plaintiffs
                    Do Not Seek Review or Rejection of the State Court Rulings.
             Even without the Nesses “exception” described above, and even assuming the Avery

 plaintiffs had a reasonable opportunity to litigate the recusal issues in state court, Rooker-

 Feldman does not deprive this Court of jurisdiction because Plaintiffs’ federal claims allege

 injuries and violations that are separate from the Avery judgment, and they do not “invit[e]

 district court review and rejection of those judgments.” Lance, 546 U.S. at 464 (2006) (quotation

 marks omitted). As the Court correctly concluded when ruling on this issue previously:

             Plaintiffs’ federal claims allege separate injuries and violations that are separate
             from the Avery judgment. Plaintiffs are not asking for the Illinois Supreme
             Court’s judgment to be overturned or reviewed. Nor does it appear that plaintiffs
             are attacking the merits of the Avery judgment.
 Doc. 67 at 15. Again, nothing has changed since then, and State Farm’s request for

 reconsideration of this ruling finds no support in controlling law.

             The focus of Plaintiffs’ RICO claim is the fraudulent conduct of State Farm and its co-

 conspirators. It was State Farm and its co-conspirators who secretly advanced their hand-picked

 candidate to the Illinois Supreme Court while the Avery judgment was pending in the Supreme
 Court. It was State Farm which funneled millions to the Karmeier campaign and which then

 covered up and lied about the extent of its support for, and connection with, Justice Karmeier.

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 And it was State Farm’s actions which robbed Plaintiffs of their right to an impartial tribunal and

 thereby caused Plaintiffs’ injuries. In short, Plaintiffs’ claims are focused on Defendants’ actions

 and will succeed or fail based on whether they satisfy the elements of a RICO action, not on

 whether a federal court reverses the state court decisions. Plaintiffs’ RICO claim, therefore, is

 focused entirely on the actions of the Defendants, does not invite review or rejection of any state

 court ruling, and does not implicate Rooker-Feldman.

             Seventh Circuit case law confirms this conclusion. In Brokaw, for example, a federal

 plaintiff suing county and state officials alleged a conspiracy to remove her from her parents’

 home by state court judicial proceedings. 305 F.3d 660, 662. Reversing the district court’s

 dismissal, the court of appeals held that Rooker-Feldman did not bar the federal claims because

 the plaintiff alleged that “the people involved in the decision to forcibly remove her from her

 home and her parents . . . violated her constitutional rights, independently of the state court

 decision.” Id. at 665. The claims arose from defendants’ conduct, not the state court judgment.

             In Long, the Seventh Circuit again recognized federal jurisdiction over a plaintiff’s

 claims even though they implicated a state-court judgment. 182 F.3d 548. The plaintiff claimed

 her lessor misled her about a debt in the form of unpaid rent, and tried to extract payment in

 violation of the Fair Debt Collection Practices Act. Id. at 552-53. The lessor thereby obtained a

 judgment against the plaintiff that led to her eviction. Id. The court of appeals rejected the district
 court’s conclusion that the plaintiff’s claims were “inextricably intertwined” with the state court

 eviction judgment because “the gravamen” of her complaint was that the defendants

 “fraudulently obtained the Circuit Court judgment.” Id. at 553, 556. Instead, the Seventh Circuit

 reasoned, “[i]t makes no difference that [plaintiff] may also deny the correctness of the eviction

 order in pursuing these claims.” Id. at 556. The court therefore found that Rooker-Feldman did

 not deprive the district court of jurisdiction.

             Similarly, in Iqbal v. Patel, the Seventh Circuit criticized the district court for invoking

 the Rooker-Feldman doctrine based on the district court’s conclusion that “any pre-litigation
 fraud is ‘intertwined’ with the state court judgments and therefore forecloses federal litigation.”


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 780 F.3d 728, 730 (7th Cir. 2015). Citing Exxon, the Seventh Circuit held that “the Rooker-

 Feldman doctrine asks what injury the plaintiff asks the federal court to redress, not whether the

 injury is ‘intertwined’ with something else.” Id. (citing Richardson v. Koch Law Firm, P.C., 768

 F.3d 732, 734 (7th Cir. 2014)); see also Zurich Am. Ins. Co. v. Superior Court for State of Cal.,

 326 F.3d 816, 822 (7th Cir. 2002) (Rooker-Feldman inapplicable when the federal plaintiff's

 “injury was not caused by the state court, but by its adversary’s conduct”); S.C. Johnson & Son,

 Inc. v. Buske, No. 09-286-GPM, 2009 WL 3010833, at *5 (S.D. Ill. Sept. 17, 2009) (Murphy, J.)

 (“Here S.C. Johnson alleges that it has been injured by the conduct of Sara and Thomas Buske in

 the Madison County court, not that it has been injured by the Madison County court, and

 accordingly, the Rooker-Feldman doctrine does not bar this Court's exercise of jurisdiction.”).

             As in Brokaw, Long, Iqbal, and Zurich, Plaintiffs here allege violations independent from

 the Avery judgments, and finding for Plaintiffs’ on their federal claims would not disturb the

 state court judgments. Their claims rest on Defendants’ conspiracy to deprive Plaintiffs of a

 neutral tribunal. To prove a civil RICO violation, Plaintiffs must show “(1) conduct (2) of an

 enterprise (3) through a pattern (4) of racketeering activity.” Sedima, S.P.R.L. v. Imrex Co., 473

 U.S. 479, 496 (1985). The conduct underlying this claim is Defendants’ conduct in violation of

 the RICO statute, not Avery. That Defendants’ violation resulted in the Avery decisions that

 stripped Plaintiffs of their judgment informs the quantum of damages that flowed from Plaintiffs’
 injury, but it does not transform the fundamental nature of Plaintiffs’ claim. See Great W.

 Mining, 615 F.3d at 173 (rejecting a similar Rooker-Feldman challenge and holding “while Great

 Western’s claim for damages may require review of state-court judgments and even a conclusion

 that they were erroneous, those judgments would not have to be rejected or overruled for Great

 Western to prevail.”).

             The cases that State Farm cites for the contrary position do not hold otherwise. For

 example, in Harold v. Steel, a state court granted a judgment-creditor’s request to enforce a

 judgment and garnish the debtor’s wages. 773 F.3d 884 (7th Cir. 2014). The debtor then filed a
 federal action claiming the opposing attorney in the state court action had misrepresented the


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 identity of the creditor and its authority to enforce the debt. The court of appeals affirmed the

 district court’s dismissal, concluding that before the entry of the state court judgment, the debtor

 had not lost any rights or suffered any injury. Thus, the only injury was attributable to the state

 court decision, which the federal court could not review. Similarly, in Dawaji v. Askar, the

 Seventh Circuit invoked Rooker-Feldman only after concluding that without the state court order

 at issue the federal plaintiff “would have had no injury or damages to claim.” 618 F. App’x 858,

 859 (7th Cir. 2015). Likewise, in Mains v. Citibank, the Seventh Circuit reiterated that Rooker-

 Feldman applies only if there is “‘no way for the injury complained of by a plaintiff to be

 separated from a state court judgment.’” 852 F.3d 669, 675 (7th Cir. 2017), petition for cert. filed

 (July 19, 2017) (No. 17-89) (quoting Sykes v. Cook Cnty., 837 F.3d at 742 (7th Cir. 2016)). In

 contrast, “if the suit does not seek to vacate the judgment of the state court and instead seeks

 damages for independently unlawful conduct, it is not barred by Rooker-Feldman.” Id. at 675

 (citing Pushpin Holdings, 748 F.3d at 773).

             Finally, in the Seventh Circuit’s most recent examination of Rooker-Feldman, Lennon v.

 City of Carmel, Indiana, the court dismissed the claims of federal plaintiffs who were effectively

 seeking an order “declar[ing] that the state-court judgments are void.” No. 16-3836, 2017 WL

 3140942, at *3 (7th Cir. July 25, 2017). In other words, in Lennon, the injury was the state court

 judgments, and plaintiffs asked the federal court to “review those judgments—precisely the step
 that Rooker-Feldman says we cannot take.” Id. Far from announcing some new principle of law,

 Lennon simply reaffirms the case law holding that plaintiffs cannot seek review of state court

 rulings or bring claims for an injury that arises exclusively from a previous state court

 judgment.14 State Farm has already invoked this line of cases in aid of its dismissal efforts, and



 14
    Although the claims of corruption in Lennon arguably could have brought the case within the
 ambit of the Nesses exception, the allegations of conspiracy were so “hodge-podge,” “wide-
 ranging,” and implausible that Nesses was not even worth mentioning. See 2017 WL 3140942,
 at *1. State Farm therefore cannot credibly argue that Lennon somehow overrules Nesses or its
 progeny. See Iqbal , 780 F.3d at 729 (One panel cannot overrule another “without so much as
 citing it. That’s not how precedent works. In this circuit it takes a circulation to the full court
 under Circuit Rule 40(e) for one panel to overrule another.”).

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 has been denied repeatedly, both by this Court and by the Seventh Circuit. The same result

 should follow here.

             Notwithstanding State Farm’s repeated attempts to reframe Plaintiffs’ case, for the

 purpose of the Rooker-Feldman analysis, the lost Avery judgment is merely one measure of

 damages that resulted from the independent injury Plaintiffs allege; it is not the injury itself.

 Thus, the holdings in Harold, Dawaji, Mains, and Lennon do not deprive this Court of

 jurisdiction. This is especially true given the Seventh Circuit’s recognition that Rooker-Feldman

 does not prevent a plaintiff from bringing claims in federal court “[e]ven if [a plaintiff] would

 not have suffered any damages absent the state order.” Brokaw, 305 F.3d at 667 (emphasis

 added); see also Klayman v. Deluca, No. 15-CV-80310-KAM, 2016 WL 1045851, at *8 (S.D.

 Fla. Mar. 16, 2016), appeal dismissed (June 16, 2016) (Rooker-Feldman not applicable even

 though “[a]warding [the requested] damages may require the Court to deny a legal conclusion

 reached by the state court, but it would not void, vacate, reverse, or otherwise modify the state-

 court judgment”); McDermott v. Barton, No. 14-CV-704-NJR-PMF, 2014 WL 6704544, at *2

 (S.D. Ill. Nov. 26, 2014) (Plaintiff “alleges that [defendant] made false representations and used

 deceptive means to obtain and enforce the default judgment,” but “the fact that [plaintiff’s]

 pursuit of his claims could ultimately show that the state court default judgment was erroneous

 does not render Rooker-Feldman applicable.”).
             For all the reasons stated above, Plaintiffs’ federal RICO claims: (1) are focused

 exclusively on Defendants’ illegal scheme to taint a tribunal reviewing a billion dollar judgment

 against State Farm; (2) do not seek review or rejection of the Illinois Supreme Court’s rulings in

 the Avery; and, therefore, (3) are not barred by Rooker-Feldman.

 II.         PLAINTIFFS’ CLAIMS ARE NOT BARRED BY RES JUDICATA
             To establish a claim is precluded by res judicata, also known as claim preclusion, the

 party seeking dismissal must show that “three criteria [are] met: (1) there must be a final

 judgment on the merits rendered by a court of competent jurisdiction; (2) an identity of causes of
 action; and (3) an identity of parties or their privies.” Leow v. A & B Freight Line, Inc., 676


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 N.E.2d 1284, 1285–86 (Ill. 1997). State Farm cannot satisfy its “heavy burden” in establishing

 that any decision in the Avery proceedings constituted a final judgment on the merits of

 Plaintiffs’ RICO claims, which were not raised in the state court, and which did not even accrue

 until State Farm’s second predicate mailing in 2011. City of Alton, 757 F.2d at 885-86 (applying

 Illinois law). The prerequisites for res judicata therefore are not met, and it would be

 “fundamentally unfair” to preclude Plaintiffs from litigating their RICO fraud claims in this

 forum. See Nowak v. St. Rita High School, 197 Ill.2d 381, 390 (2001) (“Res judicata will not be

 applied where it would be fundamentally unfair to do so.”); see also City of Chicago v. Midland

 Smelting Co., 896 N.E.2d 364, 382 (Ill. App. Ct. 2008) (“[I]t is well settled that res judicata is an

 equitable doctrine that should only be applied as fairness and justice require. . . . Equity dictates

 that the doctrine of res judicata should not be technically applied if to do so would be

 fundamentally unfair or would create inequitable or unjust results.”).

             The inapplicability of res judicata principles to this case is illustrated by State Farm’s

 difficulty in identifying precisely which prior judgment supposedly bars Plaintiffs’ federal RICO

 claim. State Farm first mentions the Illinois Supreme Court judgment in Avery, but that cannot

 possibly bar Plaintiffs’ RICO claims because there is no “identity of cause of action” between

 Avery, which was about State Farm’s failure to equip its insureds’ vehicles with proper

 replacement parts, and the tainted tribunal RICO claims at issue in Hale—the two cases clearly
 do not “arise from the ‘same transaction’ and involve ‘the same, or nearly the same[,] factual

 allegations.” Highway J Citizens Grp. v. U.S. Dep’t of Transp., 456 F.3d 734, 740 (7th Cir. 2006)

 (citation omitted). That is, they are not “related in time, space, origin, or motivation” and do not

 “arise out of the same transaction, seek redress for essentially the same basic wrong, [or] rest on

 the same or a substantially similar factual basis.” Carr v. Tillery, No. 07-314-DRH, 2010 WL

 4781127, at *5 (S.D. Ill. Sept. 20, 2010) (Herndon, C.J.).

             State Farm also points to the United States Supreme Court’s denial of the petition for

 certiorari to the Illinois Supreme Court in Avery, but that cannot be a basis for res judicata either,
 because denial of a certiorari petition does not have res judicata effect greater than whatever


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 would have come from the underlying judgment as to which review is sought. See People v.

 Edgeworth, 332 N.E.2d 716, 719 (Ill. App. Ct. 1975) (holding that denial of permission to appeal

 does not establish res judicata, and noting that “the United States Supreme Court has

 consistently taken the position that its denial of a petition for writ of certiorari decides nothing as

 to the merits of the issues raised in the petition, and merely denotes that fewer than four justices

 deemed it advisable to review the lower court’s holding”) (citing State of Md. v. Baltimore Radio

 Show, Inc., 338 U.S. 912 (1950); Brown v. Allen, 344 U.S. 443 (1953)).15 Because Avery and

 Hale are not the same “cause of action” for purposes of res judicata for the reasons discussed

 above, the fact that the United States Supreme Court did not choose to grant certiorari could not

 have endowed Avery with some new preclusive effect beyond whatever it did or did not have at

 the time of the Illinois Supreme Court’s decision.

             State Farm is then left with one final straw on which to rest its res judicata argument—

 the 2011 petition to the Illinois Supreme Court to recall its mandate in Avery. But that petition

 was not a “cause of action” at all, and the Illinois Supreme Court’s decision not to recall its

 mandate, as with the United States Supreme Court’s order denying certiorari, could have had no

 preclusive effect greater than whatever the underlying Avery judgment already did or did not

 possess. While State Farm points to certain facts presented in connection with the 2011 petition,

 that fact at most goes to issue preclusion rather than claim preclusion. Amcast Indus. Corp. v.
 Detrex Corp., 45 F.3d 155, 158 (7th Cir. 1995) (observing that case presented issues of

 “collateral estoppel rather than res judicata” when the request was to “prevent [a party] from

 relitigating a specific issue”). As discussed in the next section, however, State Farm’s collateral

 estoppel argument is also without merit.

             State Farm insists that the petition to recall the mandate was a motion for post-judgment

 relief under Section 2-1401 of the Illinois Code of Civil Procedure, and therefore, that the

 decision denying it has preclusive effect. But, while the 2011 petition did cite a subsection of that

 15
   In his concurrence, Justice Jackson said only that the judgment below stands with whatever res
 judicata consequences it may already have, not that the certiorari denial itself has any
 independent preclusive effect. See Brown, 344 U.S. at 543 (Jackson, J., concurring).

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 statute, the Illinois Supreme Court subsequently made clear that Section 2-1401 is not applicable

 where the ruling that the movants sought to review was issued by an appellate court as opposed

 to a trial court. Price v. Philip Morris Inc., 43 N.E.3d 53, 65 (Ill. 2015). Thus, the Avery

 plaintiffs’ petition to recall the mandate, properly construed, was based on the court’s inherent

 power, and not on Section 2-1401. Id. (describing the 2011 petition in Avery as an example of a

 motion to recall the mandate under the court’s inherent power rather than a Section 2-1401

 motion).16 The decision not to recall the mandate was not, therefore, a “judgment” that could

 have res judicata effect.

             Even if that decision could, theoretically, be construed as a final judgment for purposes of

 res judicata (and it cannot), the Illinois Supreme Court’s one-line order denying the petition

 cannot conclusively, or even plausibly, be a judgment on the “same merits” of the issues raised

 in Plaintiffs’ RICO claims. See City of Alton, 757 F.2d at 885 (“the prior decision must have

 been on the merits of the issue”). There is no court rule or specific standard that governs Illinois

 Supreme Court’s power to recall its mandate. Price, 43 N.E.3d at 65. Thus, only through

 impermissible speculation could this Court divine the basis for the Illinois Supreme Court’s

 decision to deny the 2011 petition—and that is not nearly sufficient for State Farm to sustain its

 “heavy burden” of “showing with clarity and certainty what was determined by the prior

 judgment.” City of Alton, 757 F.2d at 885. “To speculate on the grounds for the prior judgment”
 as State Farm asks the Court to do here, “would be to [impermissibly] remove the burden placed

 on the proponent.” Id.17




 16
   In any event, the Seventh Circuit has questioned whether even denials of Section 2-1401
 motions have any res judicata effect. See Jones v. Syntex Labs., Inc., 1 Fed. App’x. 539, 542 (7th
 Cir. 2001); see also Walsh Constr. Co. of Ill. v. Nat. Union Fire Ins. Co. of Pittsburgh, Pa., 153
 F.3d 830, 833 (7th Cir. 1998)).
 17
   State Farm contends that no written opinion is required, citing Ennenga v. Starns, 677 F.3d
 766 (7th Cir. 2012). But in Ennenga there was no question about the reason for the court’s prior
 decision—the case was dismissed due to the plaintiff’s abandonment of the claims. Id. at 771. By
 contrast, the Illinois Supreme Court itself has looked to the written reasoning of prior court
 orders to determine whether they were “on the merits” or not. See River Park, 184 Ill.2d at 290,
 304-06 (1998).

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             In addition to the 2011 petition not constituting a “cause of action” for res judicata

 purposes, there is a further fundamental reason why the petition does not have preclusive effect

 as to the RICO allegations in Hale: the RICO claim had not yet accrued at the time the petition

 was filed on September 9, 2011. This is because the second RICO predicate act—the mailing of

 State Farm’s response to the petition to recall the mandate—did not occur until September 19,

 2011. See Limestone Dev. Corp. v. Vill. of Lemont, 520 F.3d 797, 801-02 (7th Cir. 2008)

 (“[S]ince a course of racketeering activity, to amount to a ‘pattern’ and thus be actionable under

 RICO, requires at least two predicate acts and some temporal continuity, a RICO claim cannot

 accrue at the time of the first predicate.”). This alone defeats State Farm’s res judicata argument.

 See Carr, 591 F.3d 909, 918 (holding that res judicata did not bar RICO allegations that post-

 dated events giving rise to earlier state court litigation); Bank of N. Ill. v. Nugent, 584 N.E.2d

 948, 957 (Ill. App. Ct. 1991) (“Furthermore, the causes of action alleged in the plaintiffs’

 amended complaint arose, in part, after the judgment on the contract claim had been entered. It is

 absurd to plead that a cause of action is barred by a prior judgment that did not exist at the time

 the judgment was entered. Therefore, the plaintiffs should not be barred from advancing the two

 additional theories as a basis for relief.”).18

             Furthermore, because the RICO claim had not yet accrued at the time of the 2011 petition

 (or the 2005 judgment and certiorari denial, for that matter), Plaintiffs necessarily “did not have a
 full and fair opportunity to litigate the issue in the earlier case”—yet another reason why res

 judicata is inappropriate here. City of Alton, 757 F.2d at 884.19 In addition to the obvious
 18
   Cf. Highway J, 456 F.3d at 744 (“Notably, Citizens has not argued that they were not able to
 bring their present claims in the earlier litigation. . . . All transactions forming the basis of the
 plaintiffs’ causes of action . . . had occurred by the time Citizens I was filed on July 3, 2002.”)
 (emphasis in original).
 19
    See also Licari v. City of Chicago, 298 F.3d 664, 666–67 (7th Cir.2002) (“An exception to the
 res judicata rule exists if the plaintiff did not have a full and fair opportunity to litigate his claim
 in state court.”); Carr, 2010 WL 4781127, at *8 (“It is true that, even where all requirements for
 application of res judicata have been met, a prior Illinois state court proceeding will not bar a
 claim if a court concludes that in those earlier proceedings the plaintiff did not have a full and
 fair opportunity to litigate his or her claim.”); Pactiv Corp. v. Sanchez, No. 13-cv-8182, 2015
 WL 4508667, at *7 (N.D. Ill. July 23, 2015) (“Importantly, however, claim preclusion does not
 apply if the ‘plaintiff was unable to rely on a certain theory of the case or to seek a certain
 remedy or form of relief in the first action because of the limitations on the subject matter
 jurisdiction of the courts . . . and the plaintiff desires in the second action to rely on that theory or
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 impediment that the second predicate act under RICO had not yet occurred, the 2011 petition to

 recall the mandate would have offered no procedural mechanism to present the RICO claim to

 the state court at that time. It is not as though the Avery plaintiffs could have filed an amended

 complaint directly with the Illinois Supreme Court asserting federal RICO fraud claims and

 seeking discovery and a jury trial on those claims. See Weisman v. Schiller, Ducanto & Fleck,

 733 N.E.2d 818, 822 (Ill. App. Ct. 2000) (“We hold that the application of the doctrine of res

 judicata in the case at bar would create an injustice by impermissibly infringing upon plaintiff’s

 fundamental rights to a full remedy and to a trial by jury.”).20

             State court judgments can have res judicata effect in federal court only when the state

 court proceedings complied with the requirements of constitutional due process. See City of

 Alton, 757 F.2d at 884; Garcia v. Vill. of Mount Prospect, 360 F.3d 630, 634 (7th Cir. 2004).

 While it is far from clear what the Illinois Supreme Court actually decided, or indeed whether it

 reached the merits at all, a proceeding in which the plaintiff must litigate a claim that has not yet

 come into existence, with no right to discovery or a hearing and no possibility of a jury trial,

 would not comport with due process standards. And that is even before considering the serious

 due process dimensions of State Farm’s misconduct here, which deprived Plaintiffs of a fair

 tribunal for their underlying claims. See, e.g., Caperton, 556 U.S. 868; cf. Moore v. Sievers, 168

 N.E. 259, 262 (Ill. 1929) (‘The maxim that fraud vitiates every transaction into which it enters
 applies to judgments as well as to contracts and other transactions.”); Charles E. Harding Co. v.

 Harding, 186 N.E. 152, 156 (Ill. 1933), abrogated on other grounds, Herzog v. Lexington Twp.,

 657 N.E.2d 926 (Ill. 1995).

             Finally, it would be fundamentally unfair to preclude the claims of millions of absent

 class members on the basis of a judgment that by its very terms did not bind them, because the

 to seek that remedy or form of relief[.]’”) (quoting Restatement (Second) of Judgments
 § 26(1)(c)).
 20
    Not only was no discovery available in connection with the 2011 petition, but, as described
 above, the Illinois Supreme Court, at State Farm’s request, struck from the record the factual
 declarations proffered in support of the petition. A01867; see City of Alton, 757 F.2d at 885-86
 (finding no preclusive effect when the plaintiff was prevented from offering evidence in a state
 proceeding).

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 Illinois Supreme Court reversed the Avery class certification. Avery, 835 N.E.2d at 824.

 See Bieneman v. City of Chicago, 838 F.2d 962, 964 (7th Cir. 1988) (noting that denial of class
 certification “avoid[s] the preclusive effect of the judgment”); O’Brien v. Sky Chefs, Inc., 670

 F.2d 864, 869 (9th Cir. 1982) (“decertification avoided any res judicata effect against the class”),

 overruled on other grounds, Atonio v. Wards Cove Packing Co., 810 F.2d 1477 (9th Cir. 1987);

 William S. v. Gill, 591 F. Supp. 422, 431 (N.D. Ill. 1984) (holding that “no res judicata impact on

 putative class members is appropriate” following class decertification, despite adverse ruling on

 the merits); Addington v. US Airline Pilots Ass’n, Nos. CV 08-1633, CV08-1728, 2009 WL

 899647, at *1 (D. Ariz. Mar. 26, 2009) (“If the Court of Appeals permits an appeal and reverses

 the class certification, it would not change the issues at trial or the scope of relief except to limit

 USAPA’s own privilege of res judicata in the event of a defense verdict.”). For all these reasons,

 res judicata does not bar Plaintiffs’ RICO claims.

 III.        PLAINTIFFS’ CLAIMS ARE NOT BARRED BY COLLATERAL ESTOPPEL
             Collateral estoppel, also known as issue preclusion, is similar to res judicata, and State

 Farm’s efforts to invoke it fail for similar reasons. “The minimum threshold requirements for the

 application of collateral estoppel are: (1) the issue decided in the prior adjudication is identical

 with the one presented in the suit in question, (2) there was a final judgment on the merits in the

 prior adjudication, and (3) the party against whom estoppel is asserted was a party or in privity

 with a party to the prior adjudication.” Nowak, 757 N.E.2d at 478 (citations omitted).

 “Application of the doctrine of collateral estoppel must be narrowly tailored to fit the precise

 facts and issues that were clearly determined in the prior judgment.” Id. Under the doctrine of

 collateral estoppel, a “judgment in the first suit operates as an estoppel only as to the point or

 question actually litigated and determined and not as to other matters which might have been

 litigated and determined.” Id. (emphasis in original). Furthermore, “[e]ven where the threshold

 elements of the doctrine are satisfied, collateral estoppel must not be applied to preclude parties

 from presenting their claims or defenses unless it is clear that no unfairness results to the party
 being estopped.” Id.


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             State Farm’s notably cursory argument that Plaintiffs are collaterally estopped from

 asserting their RICO claim reflects its fundamental weakness. State Farm does not, and cannot,

 demonstrate that two of the three elements of estoppel—identity of the issues and final judgment

 on the merits of those issues in the prior action—are satisfied. See id. And, for the reasons stated

 above, it cannot demonstrate that Plaintiffs had “a full and fair opportunity to litigate” the issues

 raised in this RICO action—an inquiry that requires examination of the “practical realities of

 litigation.” Id.

             As to the identity of the issues, the issues must in fact be “identical.” Id. The issues State

 Farm asserts were previously decided—the propriety of Justice Karmeier’s participation in Avery

 and the “legitimacy” of the Avery judgment—are not those raised in this action. See, e.g., St.

 John v. CACH, LLC, No. 14 C 0733, 2014 WL 3377354, at *4 (N.D. Ill. July 8, 2014) (finding

 an issue not estopped because state court did not decide the “exact, identical” factual question

 before the federal court). Again, to prevail on their RICO claims here, Plaintiffs must show only

 that Defendants’ deprived Plaintiffs of an impartial tribunal and caused attendant damages

 through “(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity.”

 Sedima, 473 U.S. at 496. These are not “identical” any issues decided in the Avery proceedings.

             For similar reasons, State Farm cannot meet its “heavy burden of showing with certainty

 and clarity” that the issues estopped were clearly determined in the prior judgment. Gen. Elec.
 Co. v. Honeywell Int'l, Inc., No. 05-3239, 2006 WL 988468, at *8 (C.D. Ill. Apr. 13, 2006); City

 of Alton, 757 F.2d at 885; In re Ch. W., 948 N.E.2d 641, 649 (Ill. App. Ct. 2011). It is not enough

 for a prior decision to be “tantamount” to a judgment on the issue in question. See In re Ch. W.,

 948 N.E.2d at 649. Instead, “[a]pplication of. . . collateral estoppel must be narrowly tailored to

 fit the precise facts and issues that were clearly determined in the prior judgment.” Nowak, 757

 N.E.2d at 478 (emphasis added). As with res judicata, a court cannot rely on “pure speculation

 as to the finding of the trial court in the prior litigation.” City of Alton, 757 F.2d at 885. And

 when it is unclear what facts and standards the prior court used in deciding a purportedly




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 identical question, collateral estoppel must not be applied. See People v. Pawlaczyk, 724 N.E.2d
 901, 910 (Ill. 2000).

             Not only did the Illinois Supreme Court’s denial of Plaintiffs’ Motion for Conditional

 Non-Participation lack any explanation that might illuminate what the court decided (A00334), it

 later vacated that order (A00315), thus deciding nothing as to Justice Karmeier’s participation or

 State Farm’s support of his campaign, and denied the motion as moot. A00315. Nor did Justice

 Karmeier’s decision to decline recusal (which is far from a judgment) or the Illinois Supreme

 Court’s come with any explanation. The Supreme Court’s 2011 order denying the Avery

 plaintiffs’ Petition to Recall the Mandate was also issued without explanation. A01867.

             This is important because State Farm raised many arguments in its opposition to the

 Avery plaintiffs’ motions in the Illinois Supreme Court—including, for example, that the

 plaintiffs’ petition to recall the mandate was time-barred (A01061-69)—that have absolutely

 nothing to do with the contention that Justice Karmeier should not have participated in the 2005

 Avery decision overturning the judgment against State Farm. Given the lack of reasoning in the

 various Avery decisions, and the lack of any articulated standard governing the Illinois Supreme

 Court’s review, any of these grounds could have formed the basis for the court’s decisions.

             Accordingly, State Farm itself asserts only that the issues presented in this lawsuit were

 “necessarily decided” in Avery. Doc. 646 at 39 (emphasis added). That is both incorrect and

 insufficient, for collateral estoppel can apply only to issues that were “clearly determined” by the

 Illinois Supreme Court. See In re Ch. W., 948 N.E.2d at 649. In fact, the Illinois Supreme Court

 never decided the propriety of Justice Karmeier’s participation in the 2005 Avery decision, much

 less the issues essential to a RICO claim pending before this Court. Because this Court cannot

 know which issues were decided, Plaintiffs’ RICO claims cannot be collaterally estopped. See

 Gilldorn Sav. Ass’n v. Commerce Sav. Ass’n, 804 F.2d 390, 395 (7th Cir. 1986).

                                              CONCLUSION
             For all the foregoing reasons, Plaintiffs respectfully request that the Court deny State
 Farm’s Motion.


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 Dated: July 31, 2017                             Respectfully submitted,

                                                  /s/ Steven P. Blonder
                                                  Steven P. Blonder #6215773
                                                  Jonathan L. Loew
                                                  Much Shelist, P.C.
                                                  191 N. Wacker, Suite 1800
                                                  Chicago, IL 60606-2000
                                                  Tel: 312-521-2402

 Robert A. Clifford #0461849                      Elizabeth J. Cabraser
 Kristofer S. Riddle                              Robert J. Nelson
 Clifford Law Offices                             Kevin R. Budner
 120 N. LaSalle Street, 31st Floor                Lieff Cabraser Heimann & Bernstein, LLP
 Chicago, IL 60602                                275 Battery Street, 29th Floor
 Tel: 312-899-9090                                San Francisco, CA 94111-3339
                                                  Tel: 415-956-1000

 John W. “Don” Barrett                            Brent W. Landau
 Barrett Law Group, P.A.                          Jeannine M. Kenney
 404 Court Square North                           Hausfeld, LLP
 P.O. Box 927                                     325 Chestnut Street
 Lexington, MS 39095-0927                         Suite 900
 Tel: 662-834-2488                                Philadelphia, PA 19106
                                                  Tel: 215-985-3273

 Patrick W. Pendley                               Erwin Chemerinsky
 Pendley, Baudin & Coffin, LLP                    University of California, Berkeley School of
 Post Office Drawer 71                            Law
 24110 Eden Street                                215 Boalt Hall,
 Plaquemine, LA 70765                             Berkeley, CA 94720
 Tel: 888-725-2477                                (510) 642-6483

 Thomas P. Thrash                                 Richard R. Barrett
 Marcus N. Bozeman                                Law Offices of Richard R. Barrett, PLLC
 Thrash Law Firm, P.A.                            2086 Old Taylor Road, Suite 1011
 1101 Garland Street                              Oxford, Mississippi 38655
 Little Rock, AR 72201                            Tel: 662-380-5018
 Tel: 501-374-1058

 Gordon Ball
 Gordon Ball PLLC
 550 Main Street
 Bank of America Center, Ste. 600
 Knoxville, TN 37902
 Tel: 865.525.7028

                                     Attorneys for Plaintiffs




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                                     CERTIFICATE OF SERVICE

             Pursuant to Local Rule 7.1(b), I certify that a copy of the foregoing was served upon

 counsel on via the Court’s CM/ECF system.


                                                           /s/ Steven P. Blonder




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